Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 1 of 16




                                           20-cv-5641
Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 2 of 16
Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 3 of 16
Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 4 of 16
Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 5 of 16
Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 6 of 16
Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 7 of 16
Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 8 of 16
Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 9 of 16
Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 10 of 16
Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 11 of 16
Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 12 of 16
Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 13 of 16
Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 14 of 16
Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 15 of 16
Case 7:20-cv-05641-CS Document 1 Filed 07/17/20 Page 16 of 16
